   1   David J. Cook (SBN 060859)
       COOK COLLECTION ATTORNEYS
   2   A PROFESSIONAL LAW CORPORATION
       165 Fell Street, San Francisco, CA 94102-5106
   3   P.O. Box 270, San Francisco, CA 94104-0270
       Tel.: (415) 989-4730
   4   Fax: (415) 989-0491
       Email: Cook@SqueezeBloodFromTurnip.com
   5   File No. 57,999

   6   Attorneys for Creditor
       PERFORMANCE FOOD GROUP, INC.
   7

   8
                                 UNITED STATES BANKRUPTCY COURT
   9
                                 NORTHERN DISTRICT OF CALIFORNIA
  10
                                        SAN FRANCISCO DIVISION
  11

  12

                                                 ~)
       Inre:                                               CASE NO.: 19-30232 HLB 11
  13
       MUNCHERY, INC.
  14                                             )         WITHDRAWAL OF REQUEST FOR SPECIAL
                                                 )         NOTICE (DOC #36) AND CLAIM NO. I OF
  15                 Debtor.                     )         CREDITOR PERFORMANCE FOOD GROUP,
                                                 )         INC.
  16
       ____________                              )
                                                 )
  17

  18           COMES NOW Creditor PERFORMANCE FOOD GROUP, INC., who hereby withdraws

  19   its Request for Special Notice filed as Document Number 36 and its claim filed as Claim No. 1.

  20
       DATED: March 14, 2019                           COOK COLLECTION ATTORNEYS
  21
                                                       By:    Isl David J. Cook
  22                                                   DAVID J. COOK, ESQ. (SBN 060859)
                                                       Attorney for Creditor
  23                                                   PERFORMANCE FOOD GROUP, INC.

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Case: 19-30232     Doc# 63     Filed: 03/14/19        Entered: 03/14/19 14:33:31   Page 1 of 2
   1                                         PROOF OF SERVICE

  2    ALL ECF PARTICIPANTS

   3          I declare:
  4           I am employed in the County of San Francisco, California. I am over the age of eighteen
       (18) years and not a party to the within cause. My business address is 165 Fell Street, San
   5   Francisco, CA 94102. On the date set forth below, I served the attached:

   6          WITHDRAWAL OF REQUEST FOR SPECIAL NOTICE (DOC #36) AND CLAIM NO.
              1 OF CREDITOR PERFORMANCE FOOD GROUP, INC.
   7
       on the above-named person(s) by:
   8
         XXX      (BY ECF) Via the court's electronic service list.
   9
              I declare under penalty of perjury that the foregoing is true and correct.
  10
              Executed on March 14, 2019.
  11

  12                                                    Isl David J. Cook
                                                            David J. Cook
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Case: 19-30232      Doc# 63     Filed: 03/14/19     Entered: 03/14/19 14:33:31         Page 2 of 2
